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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

SANDRA GARZA,                       )
                                    )
           Plaintiff,               )
                                    )
v.                                  )        Case No. 1:23-cv-00038 (APM)
                                    )
DONALD J. TRUMP, et al.,            )
                                    )
           Defendants.              )
                                    )

              DONALD J. TRUMP’S MEMORANDUM OF LAW
               IN SUPPORT OF HIS MOTION TO DISMISS
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                                  INTRODUCTION


      Officer Sicknick’s death is a tragedy. That does not make it a tort for which

President Trump is liable. Plaintiff’s Complaint relies upon cherry-picked statements

intended to mischaracterize political speech as unlawful conspiracy, fails to take into

account President Trump’s repeated and unequivocal urging for peace, and simply

ignores the absolute immunity provided by the Constitution to President Trump.

Further, the Complaint fails to differentiate a speaker’s words and intent from an

unreasonable interpretation of such speech by its hearers.

      The Plaintiff provides no plausible theory of liability against President Trump,

nor can she. On January 6, 2021, President Trump expressly called for peaceful

political action, and any interpretation to the contrary is implausible.1 Not only were


      1 Throughout the day on January 6, 2021, President Trump consistently called

for peace. See, e.g., President Donald J. Trump (@realDonaldTrump), TWITTER
(January                                   6,                                 2020),
https://twitter.com/realDonaldTrump/status/1346912780700577792. On Facebook,
President Trump encouraged everyone to “respect the Law and our great men and
women in Blue.” President Donald J. Trump (@realDonaldTrump), FACEBOOK
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https://www.facebook.com/plugins/post.php?href=https%3A%2F%2Fwww.facebook.c
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same sentiment, he also stated “Protect our Capitol Police and law enforcement. They
are truly on the side of our Country. Stay peaceful!” President Donald J. Trump
(@realDonaldTrump),           FACEBOOK            (January          6,        2020),
https://www.facebook.com/plugins/post.php?href=https%3A%2F%2Fwww.facebook.c
om%2FDonaldTrump%2Fposts%2Fpfbid0bZ2Ls7V3DXZp2whwDE7Kx8x4wkhrB1E
7Arssx6uCmJxVT2vd4uGHfz3kDfEfpBCBl&show_text=true&width=500. His clear
and unambiguous statements are fully consistent with his calls and desires for peace
and are inconsistent with any violence that occurred that day.


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his statements well within the norms of political discourse, but they can also easily

be contrasted with the overt calls for violence regularly made by his political

adversaries.2 Moreover, Plaintiff has failed to plausibly allege facts establishing any

of the claims in the Complaint. First, Plaintiff fails to allege that she is a person who

may recover damages under the District of Columbia Wrongful Death Act or, indeed,

under any theory in her personal capacity. Then Plaintiff weaves an extensive, and

weak, theory attempting to bootstrap President Trump into a conspiracy under §

1985(1), alleging that the President’s speech on matters of public concern gave license

to individuals to commit criminal acts. And Plaintiff asserts an aiding and abetting

assault claim that is time-barred. In support of these claims, Plaintiff brings

threadbare allegations and factually deficient claims.

         President Trump has repeatedly said attacks against law enforcement should

be condemned and the perpetrators punished. As much as President Trump expresses

his condolences for the passing of Officer Sicknick, he is in no way liable for that sad

event.




         2   See Tom, “Inciting Rhetoric from Democrats,” YOUTUBE, available at
https://www.youtube.com/watch?v=gcVlsq2x79g and Caldron Pool, “How did you
think it would end? Democrats and Progressives Inciting Violence.” YOUTUBE,
available at https://www.youtube.com/watch?v=7yYplnEkbqU for a representative
compilation of incendiary remarks from other political and governmental officials
that has been ignored by the media and the legal system.


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                                    BACKGROUND


       Presidents are expected to take advantage of the bully pulpit. As our nation’s

chief executives, Presidents routinely comment on election results and petition

Congress to act (or refrain from acting) in various ways. Yet, the Plaintiff wrongfully

alleges President Trump’s speech, which expressed his strongly-held belief in the

insecurity and lack of integrity of the 2020 Presidential election and specifically called

for peaceful conduct, amounted to an incitement to violence. Compl., ¶¶ 2-4.

       Unfortunately for the Plaintiff, the First Amendment forbids courts to regulate

the content of political speech. Moreover, it is the content of the speech itself—not the

effect on or subsequent actions of the listeners—that determines whether such speech

is constitutionally protected. See Brandenburg v. Ohio, 395 U.S. 444, 449 (1969).

       Plaintiff alleges President Trump’s statements and lawsuits challenging

election results called for “express violence,” but she fails to allege any actual words

spoken by President Trump to justify that legal conclusion. Instead, Plaintiff offers

garden-variety and well-worn metaphors about political fighting as a substitute.

Compl., ¶ 4. To bolster her argument, Plaintiff asserts that some of President Trump’s

purported supporters—unknown individuals using screen names such as Buttfart88,

EvilGuy, and UncontrollableQueef—took his tweets and statements as a call to

violent action. Id. at ¶¶ 60-67. This is as preposterous a legal position as are the online

names used by these purported supporters.




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      Following Plaintiff’s theory of liability would drastically chill political speech

because public officials and candidates for public office could be held legally

accountable if their supporters misinterpret, or otherwise use, their passionate or

emphatic rhetoric and independently decide to carry out acts of violence or other

illegal activity. Plaintiff here incorrectly alleges President Trump intimidated and

threatened state and local election officials by exerting political pressure on them to

ensure that their elections were properly carried out and certified. Id. at ¶¶ 2, 34,

144. However, as this Court concluded in a similar case, this speech is not actionable.

Thompson v. Trump, 590 F. Supp. 3d 46, 97 (D.D.C. 2022) (“[I]t is important to bear

in mind what the alleged unlawful conspiracy is and what it is not. It is not that

Defendants conspired to sow doubt and mistrust about the legitimacy of the electoral

process and results of the 2020 presidential election. Nor is it that Defendants worked

together to influence, pressure, or coerce local officials, members of Congress, and the

Vice President to overturn a lawful election result. Though many Americans might

view such conduct to be undemocratic or far worse, neither example is an actionable

conspiracy under § 1985(1).”).

      Further, numerous allegations amount to legal conclusions unsupported by

any nonconclusory factual allegations whatsoever, such as Plaintiff’s claim that

President Trump made “express calls for violence” at the rally. Id. at ¶ 4. The actual




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language of President Trump’s speech cannot be squared with that conclusory

allegation.3

      Plaintiff’s Complaint misstates the standard for liability for protected speech,

especially that of a President when acting within the outer perimeter of his official

duties. As such, her claims involving President Trump must be dismissed,

particularly since she fails to allege any factual basis for inferring any improper

agreements, which did not exist, between President Trump and anyone who chose to

engage in unlawful rioting.

      Plaintiff also alleges that President Trump is vicariously responsible for the

death of United States Capitol Police Officer Brian Sicknick. Compl., ¶¶ 120-135.

Plaintiff alleges that President Trump is responsible for Officer Sicknick’s death

because he purportedly incited the riot that Plaintiff alleges caused Officer Sicknick’s

death, despite a medical report that concluded that Officer Sicknick passed away due

to natural causes. Id. at ¶¶ 130, 110.

      While President Trump is a vocal proponent of election integrity, he also is

strongly committed to public safety and law and order. Indeed, the Senate Homeland

Security and Governmental Affairs Committee released a staff report (“HSGA

Report”) exonerating President Trump of involvement in the January 6 security




      3   Read: Former President Donald Trump’s January 6 speech, CNN (Feb. 8,
2021, 6:16pm), https://www.cnn.com/2021/02/08/politics/trump-january-6-speech-
transcript/index.html; Thompson, 590 F. Supp 3d at 83 (stating that the court has
considered President Trump’s speech in its entirety, beyond the words stated in the
Complaint).


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failures.4 In pertinent parts, the HSGA Report found that President Trump had

delegated the ability to use emergency powers, a lead federal agency had been

designated to deal with the security concerns around the January 6 counting of

electoral ballots, and President Trump personally asked if the security was ready on

January 3.5 These are not the actions of a co-conspirator attempting to undermine

security but rather the actions of a leader concerned with making sure that security

is properly in place.6 In addition, President Trump authorized the use of the national

guard and encouraged law enforcement to coordinate and prepare accordingly for any

eventuality on January 6, 2021.

      Moreover, the HGSA Report found that law enforcement was aware of the

possibility of violence on January 6, 2021, yet did not take proper actions to prepare.7

This lack of preparation for the impending actions of individual wrongdoers is the

primary cause of the events at the Capitol on January 6, 2021.

      Recently, it was revealed that Twitter was coordinating with the FBI, various

other parts of the Government, and the Democrat Party, to skew the election in favor

of Joe Biden and to deplatform and censor President Trump. Further, President


      4 STAFF OF S. COMM. ON HOMELAND SEC. & GOV’T AFFS., 117TH CONG., REP. ON

EXAMINING THE U.S. CAPITOL ATTACK: A REVIEW OF THE SECURITY, PLANNING, AND
RESPONSE FAILURES ON JANUARY 6, at 77 (“HSGA Report”)(2021).
      5   Id.
      6   Id. at 56, 95. The HSGA Report found that the agencies working on security
did not properly perform their functions, which is regrettable. The Report also
discusses knowledge of chatter by outside organizations regarding potential action at
the United States Capitol, but there is no mention of any involvement of President
Trump.
      7 Id. at 36.




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Trump has just been reinstated on Twitter, and his previous tweets—long hidden

from public view—were again made public. Two tweets from President Trump, which

were posted in the early afternoon of January 6, 2021, clearly state his desire that all

protests be peaceful. Specifically, at 2:38pm, President Trump tweeted: “Please

support our Capitol Police and Law Enforcement. They are truly on the side of our

Country. Stay peaceful!” @realDonaldTrump, TWITTER, (Jan. 6, 2021, 2:38pm),

https://twitter.com/realDonaldTrump/status/1346904110969315332?cxt=HHwWiIC

3jeOJlbElAAAA. And at 3:13pm, President Trump tweeted: “I am asking for everyone

at the U.S. Capitol to remain peaceful. No violence! Remember, WE are the Party of

Law & Order – respect the Law and our great men and women in Blue. Thank you!”

@realDonaldTrump,            TWITTER         (Jan.        6,        2021,        3:13pm)

https://twitter.com/realDonaldTrump/status/1346912780700577792?cxt=HHwWgM

C70bWCmbElAAAA.

      These tweets were consistent with a major theme of President Trump’s speech

on the Ellipse—that the attendees were there to “peacefully and patriotically make

[their] voices heard.” Indeed, in addition to being constitutionally immune from

liability, President Trump’s statements and tweets make it clear that he acted

completely legally and appropriately.

      Last year, this Court entered an order granting the motions to dismiss in part

and denying them in part on similar issues. Thompson v. Trump, 590 F. Supp 3d. 46,

53 (D.D.C. Feb. 18, 2022). In that order, the court declined, in part, to afford President

Trump the long-held, standard, and vital constitutional protections of absolute



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immunity. Id. at *18. Those orders are now being considered on appeal before the

U.S. Court of Appeals for the D.C. Circuit. See generally, Order, Blassingame, et al.

v. Trump, No. 22-5069, ECF No. 1940608 (D.C. Cir. Appeal docketed Mar. 22, 2022)

(ordering that the three cases be consolidated for consideration of the appeal on the

court’s own motion).

        The D.C. Circuit heard argument on those cases on December 7, 2022. On

December 20, 2022, the D.C. Circuit invited the Department of Justice to file a brief

amicus curiae expressing the position of the United States in those consolidated

cases. On March 2, 2023, the Department of Justice filed that brief expressing the

position of the United States. On March 23, 2023, Appellees filed a supplemental

brief, and President Trump filed his response to the Department of Justice’s brief.

Blassingame is still pending before the D.C. Circuit as of the time of this brief.


                                     ARGUMENT


   I.      Constitutional provisions preclude Plaintiff’s claims.8

        President Trump’s public statements before and on January 6, 2021, are both

within the outer perimeter of his official duties, and thus protected by absolute


        8 Aside from the legal reasons why Plaintiff’s case must be dismissed, there are

serious and significant prudential concerns, namely the existence of a political
question due to the judgment of the Senate Impeachment Court that acquitted the
President of incitement charges on the same facts addressed in this Complaint. The
Court should also decline to get involved in line drawing over what types of speech
are acceptable in the political realm, a matter which is currently on appeal before the
D.C. Circuit. Such questions are not susceptible to judicially manageable standards
and are necessarily reserved to the political branches.


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presidential immunity and protected by the First Amendment as speech on matters

of public concern. Moreover, even if the speech in question were not cloaked with the

highest presumption of First Amendment protection—and it is—the legal doctrines

of res judicata and collateral estoppel preclude Plaintiff’s claims.


      a. Absolute immunity bars the claims against President Trump.

      Plaintiff’s claims are barred by absolute immunity. Courts have long held that

presidents are absolutely immune from civil liability for actions within the outer

perimeter of their official duties, a rule grounded in the principle of separation of

powers and entrenched in precedent dating back to common law traditions. See

Mitchell v. Forsyth, 472 U.S. 511, 521 (1985); Nixon v. Fitzgerald, 457 U.S. 731, 744

(1982). Here, Plaintiff’s claims boil down to an assertion that President Trump should

be civilly liable for various alleged torts based on his use of the presidential bully

pulpit on a matter of public concern—something well within the traditional scope of

a president’s duties—and her claims are therefore barred by absolute immunity.

      Precluding this type of civil litigation against the President is vital to ensuring

a functioning Executive Branch—the absence of immunity would incentivize lawsuits

that would make the President hesitant to exercise his discretion “even when the

public interest required bold and unhesitating action.” Nixon, 457 U.S. at 744–45.

See also, Pierson v. Ray, 386 U.S. 547, 554 (1967) (explaining that immunity serves

the public interest in preserving the independence and decisiveness necessary of

government officials). Even when a plaintiff alleges that a President’s actions exceed




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their legal authority, the privilege still prohibits litigation. Otherwise, the rule would

be swallowed whole by the exceptions; litigation would constantly test whether a

particular “action was unlawful[] or was taken for a forbidden purpose.” Nixon, 457

U.S. at 756.

      The Court has also held that evidence of a defendant’s subjective intent is

irrelevant. Crawford-El v. Britton, 523 U.S. 574, 588 (1998) (“[The] defense of

qualified immunity may not be rebutted by evidence that the defendant’s conduct was

malicious   or   otherwise   improperly     motivated.”).   “[J]udgments    surrounding

discretionary action almost inevitably are influenced by the decisionmaker’s

experiences, values, and emotions,” and allowing subjective intent would result in no

clear standard for relevant evidence. Harlow v. Fitzgerald, 457 U.S. 800, 816 (1982).

      Here, President Trump is an elected official, the most senior elected official in

the United States, entitled to absolute immunity. During the time at issue, President

Trump was engaged in the execution of his duties as President, which is

constitutionally committed to his sole discretion. In this case, those duties involved

using his bully pulpit to ensure the faithful execution of the laws of the United States

and lobbying for proper legislative action to the same ends. The Office of the

President, even more than the office of prosecutor, requires the ability to act boldly

and fearlessly to carry out the duties of the office as the person vested with the entire

authority of the Executive Branch. A holding that Plaintiff can bring a suit of this

subjective nature would encourage political opponents to take their disputes out of

the public square and halls of Congress and into courtrooms to punish a President for



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his disfavored speech. The President’s absolute immunity forecloses the jurisdiction

of this Court to do so.

      In Blassingame, this Court did not accept President Trump’s absolute

immunity claim because it found that it was too simple of an analysis to determine

that President Trump’s speech was on a matter of public concern, which is a function

of the President. Thompson, 590 F. Supp 3d. at 79–80. The court did, however, make

two findings: “The court agrees with President Trump in two respects. First, speech

is unquestionably a critical function of the presidency. … Second, his pre–January

6th tweets and the January 6 Rally Speech addressed matters of public concern: the

outcome of the 2020 Presidential Election and election integrity.” Id. at 79.

      The court went on to determine that in a deeper analysis, looking at the speech

and the President’s underlying motives, that it would be appropriate to withhold the

protection of absolute immunity. Thompson, 590 F. Supp 3d. at 81–84. With respect,

President Trump believes that this Court erred in that determination.

      In the Department of Justice’s (“DOJ”) amicus brief filed in the appeal

stemming from the court’s decision in Blassingame, the DOJ correctly endorsed a

broad view of Presidential immunity. It recognized that “[t]he traditional ‘bully

pulpit’ of the Presidency” falls within the scope of absolute immunity. DOJ Amicus

Curiae Brief at 12, Blassingame, et al. v. Trump, No. 22-5069, ECF No. 1988265 (D.C.

Cir. Appeal docketed Mar. 22, 2022). Moreover, the President’s use of the bully pulpit

“is not limited to speech concerning matters for which the President himself bears

constitutional or statutory responsibility;” it includes “matters over which the



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Executive Branch—or the federal government as a whole—has no direct control,” id.

at 12, including matters constitutionally committed to another branch of government,

such as Congress.

      DOJ also recognized that the line between “official” and “campaign” activities,

particularly with respect to speech addressing matters of public concern, is

vanishingly thin. Therefore, Presidential immunity is broader than even

Congressional immunity under the Westfall Act, id. at 14 n.3, and “conduct occurring

in the context of a political campaign” may fall within the scope of Presidential

immunity. Id. at 12.

      Despite these findings that President Trump’s actions were, in fact, within the

outer perimeter of his office, the DOJ went on to argue for a carve-out. At its core,

DOJ’s argument is that “plausibly” illegal or unprotected conduct is outside the scope

of Presidential immunity. DOJ argues that “[n]o part of a President’s official

responsibilities includes incitement of imminent private violence,” therefore “[b]y

definition, such conduct plainly falls outside the President’s constitutional statutory

duties.” DOJ Brief at 16. DOJ then suggested that the D.C. Circuit remand the case

to this Court for a further determination of whether absolute immunity applied under

a standard that incorporated Brandenburg.

      DOJ’s argument misses the point of absolute immunity. Immunity matters

only if a President is alleged to have done something wrong. After all, if a plaintiff

does not have an at least arguable claim that a President acted wrongfully, a civil

suit would either not be brought or would be promptly disposed of on a motion to



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dismiss under Rule 12(b)(6), as this suit should be on other grounds, irrespective of

presidential immunity.

      Dispositively, the Court in Nixon rejected a remarkably similar argument. In

Nixon, the Respondent claimed that he was illegally dismissed in retaliation for his

testimony to Congress. Nixon, 457 U.S. at 736. More specifically, he argued that

unlawful conduct, by virtue of being unlawful, cannot fall within the scope of the

President’s official duties and therefore is beyond the scope of presidential immunity.

Id. at 756. Because a statute protected federal employees, he argued that any

violation of that statute could not be within the scope of the President’s

responsibilities. Id. (“Because Congress has granted this legislative protection,

respondent argues, no federal official could, within the outer perimeter of his duties

of office, cause Fitzgerald to be dismissed without satisfying this standard in

prescribed statutory proceedings.”).

      The Court firmly rejected this approach. “Adoption of this construction...would

deprive absolute immunity of its intended effect” because it “would subject the

President to trial on virtually every allegation that an action was unlawful or was

taken for a forbidden purpose.” Nixon, 457 U.S. at 756. Therefore, President Trump’s

actions were within the outer perimeter of his office and are thus protected by

absolute immunity.

      Even if the Brandenburg standard had some role to play in the absolute

immunity analysis, it would need to be filtered through the prism and purposes of

immunity law. The application of immunity does not turn on whether a federal officer



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seeking immunity committed a tort, but rather whether it was clearly established

that the official’s conduct was tortious when undertaken. It is well-settled that even

qualified immunity—by definition lesser than the absolute immunity at issue here—

“protects government officials ‘from liability for civil damages insofar as their conduct

does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known.’” Pearson v. Callahan, 555 U.S. 223, 231,

(2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). To be sufficiently

clearly established that immunity will not apply, “existing precedent must have

placed the statutory or constitutional question beyond debate.” Ashcroft v. al-Kidd,

563 U.S. 731, 741 (2011) (emphasis added).

      Where, as discussed below, the question whether President Trump’s speech

crossed the Brandenburg line is at worst a debatable proposition, it would make no

sense to hold that absolute Presidential immunity does not apply in circumstances

where qualified immunity—a lesser immunity—would protect an inferior federal

official. An immunity rule whose application turns on, at worst, a deeply questionable

and unrealistic proposition under Brandenburg cannot be reconciled with Nixon’s

emphasis on ensuring that presidential action be unrestricted by fear of civil liability

or with the substantial body of immunity law requiring that the tortious nature of a

federal official’s acts be clearly established before immunity can be held not to apply.




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      b. The First Amendment bars the claims against President Trump.

      Well-established First Amendment jurisprudence bars Plaintiff’s claims based

on President Trump’s political speech. An individual’s rights to speak, assemble, and

petition the government for redress of grievances are afforded the strongest

presumption against infringement. See Members of City Council of City of Los

Angeles v. Taxpayers for Vincent, 466 U.S. 789, 816 (1984) (“[P]olitical speech is

entitled to the fullest possible measure of constitutional protection.”). Moreover,

“speech on ‘matters of public concern’ . . . is ‘at the heart of the First Amendment’s

protection.’” Snyder v. Phelps, 562 U.S. 443, 451–52 (2011) (quoting Dun &

Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S. 749, 758–59 (1985)).

      The First Amendment reflects “a profound national commitment to the

principle that debate on public issues should be uninhibited, robust, and wide-open.”

Snyder, 562 U.S. at 452. That is because “speech concerning public affairs is more

than self-expression; it is the essence of self-government.” Id. Accordingly, “speech on

public issues occupies the highest rung of the hierarchy of First Amendment values

and is entitled to special protection.” Id. “The primary question is whether the

message conveyed . . . was of such a nature as to come within the ambit of the First

Amendment Protection, or whether it must be placed in the categories of speech

which the Supreme Court has held are not protected.” Allen v. District of Columbia,

187 A.2d 888, 889 (D.C. 1963) (citing Chaplinsky v. New Hampshire, 315 U.S. 568

(1942)). For Plaintiff’s claims alleging conspiracy and aiding and abetting incitement

to riot, the “[defendant’s] conduct, and not the crowd’s reaction to it, must be the



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starting point, for ‘the measure of the speaker is not the conduct of his audience.’”

Allen, 187 A.2d at 889 (quoting Rockwell v. Morris, 12 A.D.2d 272, 279 (N.Y. Sup. Ct.

1961)).

      Therefore, the “[a]udience reaction, and the immediacy of the disorder, become

significant elements of proof only after the speaker passes the bounds of argument or

persuasion and undertakes incitement to riot.” Allen, 187 A.2d at 889 (citing Feiner

v. New York, 340 U.S. 315, 321 (1951)). Here, President Trump’s speech did not

surpass any reasonable standard for the bounds of argument and persuasion

commonly used by public officials and candidates for public office.


             1. President Trump’s speech was petitioning activity undertaken in his
                official capacity.

      President Trump's speech on January 6, 2021, regarding the 2020 Presidential

Election, is certainly on matters of public concern. In fact, this Court has already

found that it was on matters of public concern. Memorandum Opinion and Order,

Blassingame, et al. v. Trump, Case No. 21-cv-00858, ECF No. 37, at 32 (D.D.C. filed

March 30, 2021). As President, it was President Trump’s duty to ensure that the laws

are faithfully executed, and he had plausible concerns about the legality and integrity

of the November election results. Allegations of election interference were more than

welcome by politicians and the media in 2000, 2004, and 2016 when they were being

voiced by Democrats Maxine Waters, Jerrold Nadler, Barbara Lee, Stacy Abrams,

and Hillary Clinton.




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      In 2020, President Trump was condemned for voicing concerns with the

massive changes to state election procedures that created uncertainty about their

security and outcomes. State legislatures are charged with setting the election

process in every state, but the President has every right to question whether

procedures were properly enacted and followed. Indeed, dialogue between the

political branches of government and the several states on such issues is at the core

of federalism and represents one of the checks and balances that are the heart and

soul of our Constitution's framework. Questioning the integrity of the election and

his discussion of the matter while attempting to petition Congress to redress his

grievance was a matter of public concern cloaked with the highest presumption of

protection. It simply does not meet the standards described by the Supreme Court for

when speech may be restricted or punished without violating the First Amendment.


             2. President Trump’s speech does not meet the standard for incitement.

      Throughout the Complaint, Plaintiff alleges President Trump incited and

provoked individuals to riot at the Capitol through weeks of voicing his concerns over

the legitimacy of the elections (see e.g., Compl., ¶¶ 60-67 111, 156), filing lawsuits

challenging those election results (see e.g., Compl., ¶¶ 2, 56), and planning a rally to

petition Congress to delay certifying the election (see e.g., Compl., ¶ 68). Plaintiff

asserts these actions provide the basis for President Trump’s liability for the actions

of others at the Capitol. Yet, President Trump’s speech clearly reminded his

supporters to “peacefully and patriotically make [their voices] heard” at the Capitol,




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where the election certification was going to take place.9 At no point during the speech

was there any advocacy for violence or unlawful activity.

      Retrospectively assuming a speaker’s intent based upon the actions of others

cannot support an incitement claim. See Brandenburg, 395 U.S. at 449 (1969). But

that is exactly what Plaintiff would have this Court endorse. In her Complaint,

Plaintiff claims unknown internet users with dubious handles like “Buttfart88” and

“EvilGuy” interpreted President Trump’s language as a call to action. Compl., ¶¶ 60-

67. According to Plaintiff, based upon this stretched interpretation, third parties

acted. This theory has been recently rejected by the Department of Justice, which

referred to any theory that President Trump could authorize citizens to interfere with

the relevant proceedings as “objectively unreasonable.” United States v. Gieswein,

Criminal No. 21-024, Doc. 63 at 2 (D.D.C. Jan. 16, 2021). Moreover, Plaintiff never

alleges that President Trump gave directions; only that third parties misunderstood

innocuous, political rhetoric to mean something not stated, implied, or intended.

      Further, one cannot have negligent liability for incitement—intent on the part

of the speaker is a required element of a plaintiff’s claim. An individual cannot be

liable for incitement based on how others interpreted his speech or “the distinction

between advocacy and incitement” would be too blurred. Morse v. Frederick, 551 U.S.

393, 442 (2007) (Stevens, J., dissenting). The Supreme Court rejected such an




      9 Brian Naylor,   Read Trump’s Jan. 6 Speech, A Key Part of Impeachment
Trial, NPR (Feb. 10, 2021, 2:43 PM), https://www.npr.org/2021/02/10/966396848/
read-trumps-jan-6-speech-a-key-part-of-impeachment-trial.


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interpretation because this “would ‘pu[t] the speaker in these circumstances wholly

at the mercy of the varied understanding of his hearers and consequently of whatever

inference may be drawn as to his intent and meaning.’” Id. at 442–43 (quoting Thomas

v, Collins, 323 U.S. 516, 535 (1945)).

      Starting in 2020, the media continuously referred to the right to protest as a

central element of our republic—even when the protests that were encouraged in

cities across the country were turning violent and putting American lives, property,

and law enforcement officers in jeopardy. If President Trump’s speech is not protected

by the First Amendment, the floodgates of litigation would open. Any number of

people could be liable for the unlawful conduct of others who claimed to be under the

influence of that individual's political speech. This would clutter the dockets of federal

courts and incentivize using courts as a weapon against political opponents.


             3. Incitement is limited to true threats, and a holding to the contrary
                would subject anti-riot laws to facial challenges.

      As the Supreme Court has recognized, the “mere tendency of speech to

encourage unlawful acts is not a sufficient reason for banning it.” Ashcroft v. Free

Speech Coal., 535 U.S. 234, 253 (2002). After all, “mere encouragement is

quintessential protected advocacy” under the First Amendment. United States v.

Miselis, 972 F.3d 518, 536 (4th Cir. 2020). Indeed, the Fourth Circuit has held that

an Anti-Riot Act that “proscribes speech tending to ‘encourage’ or ‘promote’ a riot, as

well as speech ‘urging’ others to riot or ‘involving’ mere advocacy of violence” was




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overbroad under Brandenburg and swept up too much protected speech to be

constitutional. Miselis, 972 F.3d at 540.

       If such activity cannot incur liability under the First Amendment, the

allegations that Plaintiff has made here are surely not sufficient, and D.C.’s Anti-Riot

statute would be subject to a facial challenge as overly broad.

       Should Plaintiff’s construction of § 1985 be adopted, it would lead to a

boundless statute that would essentially hold politicians vicariously liable for the

actions of their supporters, substantially chilling constitutionally protected political

speech. Moreover, the broad and vague prescriptions of the statute would encourage

selective enforcement, inevitably based upon the political affiliations of the enforcer.

Simply put, Plaintiff’s proposed interpretation of the statute provides no way to draw

clear lines.

       A conspiracy under § 1985(1) should not be read so broadly as to encompass all

tortious interferences with the rights of others. See Griffin v. Breckenridge, 403 U.S.

88, 101 (1971) (discussing the legislative history of the statute, specifically as it

applied to § 1985(3)). Indeed, a plain reading of the word “conspiracy” in the statute

requires that the Court limit its application to specific agreements to interfere with

the acceptance or performance of an officer’s duties through an unlawful act. See

McFadden v. United States, 576 U.S. 186, 197 (2015) (applying the canon of

constitutional avoidance). Therefore, an agreement to engage in lawful political

speech and assembly with others is no conspiracy at all; there must be an actual

agreement to perform an overt act that extends beyond protected political speech.



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And as with any conspiracy allegation, proof of the actual agreement is key to

surviving a motion to dismiss.

         Plaintiff here does not meet that threshold. The First Amendment protects

President Trump’s speech. Because all of the claims against him stem directly and

solely from President Trump’s political speech, this Court should dismiss the

Plaintiff’s Complaint in its entirety.


   II.      Plaintiff has failed to state a claim upon which relief may be granted.

         To state a claim upon which relief may be granted, Plaintiff is charged with

pleading her Complaint so that it plausibly lays out a legally recognized case against

Defendants. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 549 (2007). While she need not

include “detailed factual allegations,” she must do more than state an unadorned

“the-defendant-unlawfully-harmed-me” accusation. Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Twombly, 550 U.S. at 555).

         A pleading that offers “labels and conclusions” or “a formulaic recitation of the

elements of a cause of action will not do.” Iqbal, 556 U.S. at 678; Twombly, 550 U.S.

at 555. Nor does a complaint suffice if it tenders “naked assertion[s]” devoid of

“further factual enhancement.” Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 557.

Moreover, Plaintiff’s conspiracy allegations must be pled with particularity. See

Gometz v. Culwell, 850 F.2d 461, 464 (7th Cir. 1988); McCord v. Bailey, 636 F.2d 606

(D.C. Cir. 1980).




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      a. Plaintiff has failed to state a claim under 42 U.S.C. § 1985(1).

             1. Plaintiff does not adequately allege that President Trump caused the
                events of January 6.

      Plaintiff has also not alleged that President Trump took any action other than

his protected speech to cause the alleged events in her Complaint. Notably, Plaintiff

does not plausibly allege that President Trump entered into an agreement with any

other alleged co-conspirator; this alone is fatal to her claims of conspiracy. Plaintiff

has woven her own story to implicate President Trump in a supposed plot between

individuals unrelated and distant from President Trump and certain people in the

District of Columbia.

      In addition to being protected by immunity and the First Amendment,

President Trump’s speech was far removed from the Capitol. Further, President

Trump’s language, both during the speech and subsequent to the speech, indicates

that he wanted his supporters to remain peaceful. See Compl. ¶ 100 (showing

President Trump’s tweet asking people to “[s]tay peaceful!”), ¶ 104 (explaining that

President Trump made statements in the afternoon asking the people at the Capitol

to go home). The protestors’ and rioters’ lack of obedience demonstrates that

President Trump did not have control over their actions and was not directing them,

nor was he the one that incited them. The HSAG Report also clearly indicates that

there were organizations and individuals planning to get involved in the events at

the Capitol ahead of time, divorced from any contact with President Trump, and that




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President Trump was concerned with, and insisting on, all events of January 6, 2021,

being safe and secure.


               2. Members of Congress and the Vice President are not Officers
                  Pursuant to § 1985(1).

       Plaintiff’s claims against President Trump under § 1985(1) are contingent

upon a finding that President Trump conspired to interfere with the duties of a

federal officer as described in § 1985(1). Neither members of Congress nor Vice

President Pence, whom Plaintiff alleges in ¶ 138 were the individuals prevented by

force, intimidation, and threats from discharging their duties, are federal officers for

purposes of § 1985(1).

       An officer of the United States is one who “holds his place by virtue of an

appointment by the president, or of one of the courts of justice or heads of

departments authorized by law to make such an appointment.” United States v.

Mouat, 124 U.S. 303, 307 (1888). Additionally, as the Supreme Court explained in

2010, “[t]he people do not vote for the ‘Officers of the United States.’ U.S. Const. art.

II, § 2, cl. 2. They instead look to the President to guide the ‘assistants or

deputies . . . subject to his superintendence.”’ Free Enter. Fund v. Pub. Co.

Accounting Oversight Bd., 561 U.S. 477, 498 (2010) (quoting, THE FEDERALIST NO. 72,

at 487 (A. Hamilton) (J. Cooke ed., 1961)). Furthermore, the Appointments Clause

makes it clear that the President appoints the Officers of the United States. See U.S.

Const. art. II, § 2, cl. 2.




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       The Constitution makes clear that members of Congress are not office holders

“under . . . the United States.” 42 U.S.C. § 1985(1). The Ineligibility Clause

specifically states that “no person holding any Office under the United States, shall

be a member of either House during his Continuance in Office.” U.S. Const. art. I, § 6,

cl. 2. Therefore, a member of Congress is not in an office under the United States,

otherwise, the Constitution would state that they could not hold more than one such

office. In defining an office of the United States, the United States Court of Claims

defined it as a “public station or employment established or authorized by Congress

and conferred by appointment of the Government.” Dalton v. United States, 71 Ct.

Cl. 421, 425 (1931). Neither do members of Congress hold a position of trust or a place

of confidence under the United States. The Constitution specifically delineates

between senators, representatives, and those holding an office of trust or profit under

the United States when it prohibits any of the above from serving as electors. U.S.

Const. art. II, § 1, cl. 2.

       In common law, an office of trust or profit referred exclusively to those in the

employ in the executive, judiciary, or the church. See Benjamin Cassady, “You’ve Got

Your Crook, I’ve Got Mine”: Why the Disqualification Clause Doesn’t (Always)

Disqualify, 32 Quinnipiac L. Rev. 209, 279 (2014). English statutes applied the term

to offices conferred by the Crown, not by Parliament. Id. (citing Test Act of 1673, 25

Car. II, c. 2 (U.K.)). There are few examples of those who hold a place of confidence

under the United States. A district court has applied that term to state court judges

since they decide federal constitutional issues and are bound by federal law. Lewis v.



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News-Press & Gazette, 782 F. Supp. 1338, 1342 (W.D. Mo. 1992). Other authority

suggests that all the categories listed in Section 1 are limited to those who carry out

and apply the law. See Stern v. U.S. Gypsum, Inc., 547 F.2d 1329, 1337 (7th Cir.

1977) (explaining the statutory history of § 1985(1) and concluding that the purpose

of the legislation was to protect the “federal interest in the carrying out of federal

functions”).

       Given the previously discussed limitation that officers of the United States are

those who are appointed by the President, the fact that the Vice President is elected

with the President prevents a finding that he is an officer. One thing is clear: the

Congress that adopted the statute could have made it applicable to the legislative

branch and to the President and Vice President. But it did not. Indeed, if the statute

did apply as broadly as the Plaintiff alleges, any time that Congress and the President

disagreed politically, it could incur liability on either party in the courts of law if their

bombastic rhetoric or conduct could be perceived as a threat to the other. Plaintiff

does not have a cause of action under § 1985(3) because neither the members of

Congress nor Vice President Pence qualify as individuals with whom interference of

their duties gives rise to a cause of action under § 1985(1).


       b. Plaintiff has failed to state a claim under any District of Columbia state
          law claim.

       Plaintiff has brought three claims against President Trump based on alleged

District of Columbia state law violations: (1) wrongful death, (2) incitement to riot,

and (3) aiding and abetting common law assault. Each of these are precluded by the



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above, but Plaintiff has also failed to adequately allege plausible facts to state a claim

under any of these statutes.


             1. Plaintiff has failed to state a claim for wrongful death.

   A. Plaintiff has failed to allege that a spouse, domestic partner, or next of kin
      exists that may recover under the wrongful death statute.

      The District of Columbia wrongful death statute, D.C. Code § 16-2701, sets a

statutory limitation on who may recover damages in a wrongful death lawsuit.

Specifically, the “District of Columbia's Wrongful Death Act is designed to provide a

remedy whereby close relatives of the deceased who might have expected

maintenance or assistance from the deceased had he lived, may recover compensation

from the wrongdoer commensurate with the loss sustained.” Herbert v. D.C., 808 A.2d

776, 778 n. 2 (D.C. Cir. 2002) (internal quotations omitted).

      The statute itself is clear: “The damages shall be assessed with reference to the

injury resulting from the act, neglect, or default causing the death, to the spouse or

domestic partner and the next of kin of the deceased person[.]” D.C. Code § 16-2701.

The chapter continues to clarify that the damages must be “distributed to the spouse

and next of kin according to the allocation made by the verdict or judgment, or in the

absence of an allocation, according to the provisions of the statute of distribution in

force in the District.” D.C. Code § 16-2703 (emphasis added). Respectfully, Plaintiff

is neither spouse nor next of kin.

      Nor has the Plaintiff, the personal representative of the estate of Officer

Sicknick, even alleged that she is the spouse, domestic partner, or next of kin of



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Officer Sicknick. Thus, she is not eligible to receive compensation under this statute.

Nor has Plaintiff identified anyone else on whose behalf this claim is being brought

that is the spouse, domestic partner, or next of kin of Officer Sicknick.

      Moreover, Plaintiff has specifically and publicly admitted that she is not, and

was not, married to Officer Sicknick at the time of the relevant events. In an interview

with WUSA9, Ms. Garza admitted that she and Officer Sicknick separated six months

before January 6, 2021, because she wanted to get married and he did not.10 This is

direct evidence from Plaintiff that she was not a spouse or domestic partner of Officer

Sicknick, nor did they hold themselves out to be married or domestic partners. The

Court may take judicial notice of this information because it is readily available from

a source whose accuracy cannot reasonably be questioned. Hurd v. D.C., 864 F.3d

671, 686 (D.C. Cir. 2017); Fed. R. Evid. 201(b)(2). Here, the source of the information

is the Plaintiff herself speaking about her relationship with Mr. Sicknick. Because

Plaintiff is not kin, spouse, or domestic partner of Mr. Sicknick, there are no damages

due to Plaintiff under the wrongful death statute to Plaintiff. Therefore, this count

must be dismissed for failure to state a claim upon which relief may be granted.

      For that matter, to the extent that Plaintiff purports to be advancing claims in

her own right as the decedent’s girlfriend—or, more accurately, former girlfriend—


      10 Eric Flack, Stephanie Wilson, and Jordan Fischer, 'I will always love you
forever, Brian' | Officer Sicknick's partner recalls family's agonizing goodbye,
WUSA9               (Nov.         9,            2021,           7:00          AM),
https://www.wusa9.com/article/news/national/capitol-riots/brian-sicknick-sandra-
garza-girlfriend-final-moments-capitol-riot-january-6-donald-trump/65-6f8cafc4-
293e-4f60-a915-1c9798d11863.


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as opposed to in her alleged capacity as personal representative of Officer Sicknick’s

estate, she lacks standing to bring any claim. D.C. Code § 16-2702 (“An action

pursuant to this chapter shall be brought by and in the name of the personal

representative of the deceased person”); Duckett v. D.C., 654 A.2d 1288, 1290 (D.C.

1995).


   B. Plaintiff does not adequately allege Officer Sicknick’s death was caused by the
      wrongful act, neglect, or default of President Trump.

         As outlined above, Plaintiff’s claim for the wrongful death of Mr. Sicknick is

precluded by constitutional considerations. In addition, Plaintiff’s Complaint fails to

adequately allege that Officer Sicknick’s death was caused by a wrongful or negligent

act of President Trump or by President Trump’s default.

         As an initial matter, Plaintiff admits that Officer Sicknick’s death was

determined to have been caused by natural causes. Compl., ¶ 110. This negates the

necessary element of causation: a showing that an alleged wrongful act caused Officer

Sicknick’s tragic passing. Plaintiff includes an alleged excerpt from the medical

examiner’s report stating that the events of January 6 played a role in Officer

Sicknick’s condition, yet Plaintiff has not provided a copy of the report or citation.

The medical examiner, however, did tell the Washington Post that: “the autopsy

found no evidence that Sicknick experienced an allergic reaction to chemical irritants.

He also said there was no evidence of either external or internal injuries.”11



                      Capitol Police Officer Brian Sicknick died of natural causes
         11 Pete Williams,

after riot, medical examiner says, NBC NEWS (Apr. 19, 2021, 5:26 PM),


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      Moreover, Plaintiff fails to adequately allege that President Trump’s wrongful

or negligent action caused Officer Sicknick’s death or that President Trump’s default

allowed it to happen. Plaintiff alleges no communication between President Trump

and the other two defendants, or for that matter, any other alleged conspirator.

Plaintiff does not even plausibly allege any agreement between President Trump and

any other person. At most, Plaintiff alleges that others took President Trump’s words

to be a call to violence. This is not a wrongful action of President Trump sufficient to

make him responsible for the violent actions of others.

      It is an uncontested fact that President Trump encouraged the people at the

Capitol to remain peaceful. In his speech, President Trump requested that any

protest be peaceful and patriotic. President Trump also sent out multiple messages,

including in video form, requesting that rallygoers respect law enforcement. Yet,

these calls were ignored by some individuals. This underscores that President Trump

was not directing or controlling the rioters at the Capitol, and he was not giving them

orders.

      Further, Plaintiff argues, in conclusory fashion, that President Trump ratified

the conduct of the others by not immediately condemning that conduct, and, for that

reason, President Trump is somehow responsible for the alleged wrongful death of

Officer Sicknick. This suggested rule would create a new duty on an individual to

condemn actions that they are not part of or risk incurring liability. Such a novel



https://www.nbcnews.com/politics/politics-news/capitol-police-officer-brian-sicknick-
died-natural-causes-after-riot-n1264562.


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standard would facially violate due process and subject people to liability for the

actions of others far removed from their control. It is also barred by the rule that a

plaintiff seeking to hold a defendant liable for negligence for injuries resulting from

intervening criminal acts must plead facts establishing that the defendant meets the

“heightened foreseeability” test. Bd. of Trustees of Univ. of D.C. v. DiSalvo, 974 A.2d

868, 871 (D.C. 2009). Plaintiff has not even attempted to do so.


             2. The Plaintiff’s aiding and abetting claim is time-barred.

      As a threshold matter, Plaintiff’s aiding and abetting claim is time-barred.

Under District of Columbia law, the statute of limitations for assault is one year. D.C.

Code. § 12-301(a)(4). So, too, is the statute of limitations for aiding and abetting

assault. “When a cause of action with no prescribed statute of limitations is

‘intertwined’ with one having a prescribed limitations period, District of Columbia

courts apply the prescribed period.” Browning v. Clinton, 292 F.3d 235, 244 (D.C. Cir.

2002). Claims are intertwined “when they are based on the same underlying facts.”

Id. (citing Mittleman v. United States, 104 F.3d 410, 415–17 (D.C. Cir. 1997)). Here,

two things are beyond debate. Officer Sicknick died (and thus any alleged assault

claim accrued) well over a year before Plaintiff’s complaint was filed. And an aiding

and abetting assault claim is by definition intertwined with the underlying assault

claim. See, e.g., Hunter v. District of Columbia, 943 F.2d 69, 72 (D.C. Cir. 1991)

(holding that intentional infliction of emotional distress claim was intertwined with

assault and battery claim because plaintiff’s complaint “did not allege any facts




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suggesting that the defendants intentionally caused him emotional distress by

conduct independent of the alleged assault and battery”). Here, Plaintiff’s aiding and

abetting assault claim is—indeed, necessarily is—that President Trump allegedly

aided and abetted the assault that she contends (in her time-barred assault claim

against two other defendants) injured Officer Sicknick.          It is, for that reason,

intertwined with that assault claim and, like it, time-barred.


               3. Even if the Plaintiff’s aiding and abetting claim were timely filed, it
                  is not a cognizable cause of action under D.C. law.

      To state a claim for aiding and abetting, a plaintiff must show: “(1) the party

whom the defendant aids must perform a wrongful act that causes an injury; (2) the

defendant must be generally aware of his role as party of an overall illegal or tortious

activity at the time that he provides the assistance; (3) the defendant must knowingly

and substantially assist the principal violation.” Halberstam v. Welch, 705 F.2d 472,

477 (D.C. Cir. 1983) (citing Investors Research Corp. v. SEC, 628 F.2d 168, 178 (D.C.

Cir. 1980)).

      To support her aiding and abetting claim, the Plaintiff hangs her legal hat on

false allegations that President Trump: (1) encouraged the mob, and (2) enjoyed the

outcome and supported it, and (3) did not take action to stop the mob. Compl., ¶¶ 173,

6, 175. Halberstam explicitly rejects the latter two arguments as insufficient to

sustain an aiding and abetting claim and erodes Plaintiff’s arguments on the first.

Halberstam held that approval of the actions, taking pleasure in them, and even




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supporting them without further aid would not be sufficient to create liability. Id. at

483 (citing Duke v. Feldman, 226 A.2d 345 (Md. 1967)).

      Fatal to her claim is the fact that the Plaintiff has made no non-conclusory

allegations to support her claim.      She has not alleged that President Trump

knowingly and substantially assisted in the principal violations. And the Plaintiff has

not even alleged that President Trump was involved in the principal violations at the

United States Capitol. Instead, she offers that President Trump “refused to

communicate anything to the mob that might discourage continued unlawful action.”

Compl., ¶ 123. Yet, this cannot be squared with the Complaint’s allegations that

President Trump explicitly requested that protestors be peaceful, he explicitly asked

them to respect law enforcement, and he explicitly asked them to stop taking the

actions they were undertaking. See Compl. ¶ 100 (showing President Trump’s tweet

asking people to “[s]tay peaceful!”), ¶ 104 (explaining that President Trump made

statements in the late afternoon asking the people at the Capitol to go home). The

protestors’ lack of obedience clearly demonstrates that President Trump did not have

control over their actions and was not directing them. And it is far from ratifying

conduct to request that it stop. The Plaintiff cannot have it both ways.

      While Officer Sicknick’s injuries and untimely death are tragic, President

Trump is not the party responsible for them.




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      c. The President is not subject to a claim for money damages under § 1985(1).

      Plaintiff has failed to adequately allege that the 42 U.S.C. § 1985(1) applies to

the President of the United States. Nixon held that the President is not subject to

damages actions without specific authorization from Congress. Nixon, 457 U.S. at 748

(“In neither case has Congress taken express legislative action to subject the

President to civil liability for his official acts.”). The President occupies a unique

position within the constitutional structure of our government, it is therefore

appropriate that generally worded statutes, such as § 1985, do not always reach the

President or his office. Nixon, 457 U.S. at 749–750; Franklin v. Massachusetts, 505

U.S. 788, 800–801 (1992).

      Here, the Plaintiff’s allegations include claims that President Trump exerted

political pressure on officials and spoke from his bully pulpit on matters of public

concern. These actions not only fall within the duties of the presidency as discussed

above, but they also are constitutionally and statutorily invested in the President,

making him a unique individual in the statutory and constitutional framework of our

legal system and neither the Constitution nor the Congress has provided a way

around this bar to the Plaintiff’s claims.

                       *                     *                *

      As a matter of law, the Plaintiff has made no plausible allegations to overcome

Presidential immunity, nor has she made any plausible allegations that she has

standing to bring these claims, that her claims are not time-barred, or that the




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President aided and abetted any wrongful activity, or that the President or his words

are responsible for Officer Sicknick’s death.




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                                   CONCLUSION


      For the foregoing reasons, President Trump respectfully requests this Court

dismiss Plaintiff’s Complaint in its entirety with prejudice.


Dated: April 3, 2023                              Respectfully submitted,

                                                  /s/ Jesse R. Binnall
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                           CERTIFICATE OF SERVICE


      I certify that on April 3, 2023, a copy of the foregoing was filed with the Clerk

of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

of record.



                                                 /s/ Jesse R. Binnall
                                                 Jesse R. Binnall (VA022)
                                                 Attorney for Donald J. Trump




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